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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11   MICHAEL DEWAYNE ALLEN,        )          NO. CV 20-7952-DMG(E)
                                   )
12             Plaintiff,          )
                                   )
13        v.                       )          ORDER ACCEPTING FINDINGS,
                                   )
14   WARDEN DOE, ET AL.,           )          CONCLUSIONS AND RECOMMENDATIONS
                                   )
15             Defendants.         )          OF UNITED STATES MAGISTRATE JUDGE
     ______________________________)
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18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the
19   Second Amended Complaint, all of the records herein and the attached
20   Report and Recommendation of United States Magistrate Judge.            Further,
21   the Court has engaged in a de novo review of those portions of the
22   Report and Recommendation to which any objections have been made.               The
23   Court accepts and adopts the Magistrate Judge’s Report and
24   Recommendation.
25

26         IT IS ORDERED that: (1) Plaintiff’s request for appointment of
27   counsel is denied; and (2) Judgment shall be entered dismissing the
28   Second Amended Complaint and the action without leave to amend and
     Case 2:20-cv-07952-DMG-E Document 27 Filed 11/30/21 Page 2 of 2 Page ID #:108



 1   with prejudice.

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 3         IT IS FURTHER ORDERED that the Clerk serve forthwith a copy of

 4   this Order and the Judgment of this date on Plaintiff.

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 6   DATED: November 30, 2021

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